                       Case 1:23-cv-10859-JPO Document 6 Filed 12/15/23 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                 Southern District of New York    E)
                  CHADWICK TROEGER,                             )
                                                                )
                                                                )
                                                                )
                            Pla intiff(s)                       )
                                                                )       Civil Action No.
                                 V.                                                          23-cv-10859
                                                                )
   JETBLUE AIRWAYS CORPORATION, WILLIAM
      PETERSEN and WAYNE MAYERS, JR.,                           )
                                                                )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To.. (Deifi.endants• name and a ddress) JetBlue Airways Corporation
                                        27-01 Queens Plaza North
                                        Long Island City, New York 11101




          A lawsuit has been filed against you.

        Within 21 days after service ofthis summons on you (not counting the day you received it)-or 60 days if you
are the United States or a United States agency, or an officer or employee ofthe United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules ofCivil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Debra L. Wabnik, Esq.
                                 Stagg Wabnik Law Group LLP
                                 401 Franklin Avenue, Suite 300
                                 Garden City, New York 11530
                                 (516) 812-4504
                                 dwabnik@staggwabnik.com
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:    December 15, 2023                                                             /S/ S. James
                                                                                       Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of individual and title, if any)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          -----------------


           on (date)                               ' and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           0 I returned the summons u.nexecuted because                                                                             ; or

           0 Other (specify):




           My fees are$                            for travel and $                  for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                            Server's signature


                                                                                        Printed name and title




                                                                                            Server's address

 Additional information regarding attempted service, etc:
